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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLORADO

Civil Action No.

Deborah Laufer,
      Plaintiff,
v.
Randall J. Looper, and
Cynthia C. Looper d/b/a Elk Run Inn,
      Defendant(s).


                                    COMPLAINT
                           (Injunctive Relief Requested)



    Plaintiff, Deborah Laufer, individually (“Plaintiff”) on her own behalf and on

behalf of all other individuals similarly situated, hereby sues the Defendants,

Randall J. Looper and Cynthia C. Looper d/b/a Elk Run Inn (“Defendants”), for

Injunctive Relief, attorney’s fees, litigation expenses, and costs pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and

damages and attorney fees and costs pursuant to the Colorado Anti-Discrimination

Act ("CADA").

    1. Plaintiff is a resident of Pasco County, Florida, is sui juris, and qualifies

as an individual with disabilities as defined by the ADA. Plaintiff is unable to

engage in the major life activity of walking more than a few steps without

assistive devices. Instead, Plaintiff is bound to ambulate in a wheelchair or with



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a cane or other support and has limited use of her hands. She is unable to

tightly grasp, pinch and twist of the wrist to operate. When ambulating beyond

the comfort of her own home, Plaintiff must primarily rely on a wheelchair.

Plaintiff requires accessible handicap parking spaces located closest to the

entrances of a facility. The handicap and access aisles must be of sufficient

width so that she can embark and disembark from a ramp into her vehicle.

Routes connecting the handicap spaces and all features, goods and services of

a facility must be level, properly sloped, sufficiently wide and without cracks,

holes or other hazards that can pose a danger of tipping, catching wheels or

falling. These areas must be free of obstructions or unsecured carpeting that

make passage either more difficult or impossible. Amenities must be sufficiently

lowered so that Plaintiff can reach them. She has difficulty operating door

knobs, sink faucets, or other operating mechanisms that tight grasping, twisting

of the wrist or pinching. She is hesitant to use sinks that have unwrapped

pipes, as such pose a danger of scraping or burning her legs. Sinks must be at

the proper height so that she can put her legs underneath to wash her hands.

She requires grab bars both behind and beside a commode so that she can

safely transfer and she has difficulty reaching the flush control if it is on the

wrong side. She has difficulty getting through doorways if they lack the proper

clearance.


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    2. Plaintiff is an advocate of the rights of similarly situated disabled

persons and is a "tester" for the purpose of asserting her civil rights and

monitoring, ensuring, and determining whether places of public accommodation

and their websites are in compliance with the ADA.

    3. According to the county property records, Defendants own a place of

public accommodation as defined by the ADA and the regulations implementing

the ADA, 28 CFR 36.201(a) and 36.104. The place of public accommodation

that the Defendants owns is a place of lodging known as Elk Run Inn and is

located at 627 W. Victory Way, Craig, CO 81625, in the County of Moffat

(hereinafter “Hotel” or "Property").

    4. Venue is properly located in the DISTRICT OF COLORADO because

the Hotel is located in this judicial district.

    5. Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has

been given original jurisdiction over actions which arise from the Defendants’s

violations of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et

seq. See also 28 U.S.C. § 2201 and § 2202.

                            Count I - Violation Of The ADA

    6. Plaintiff realleges paragraphs 1-5 as if set forth fully hereunder.

    7. As the owner of the subject place of lodging, Defendants are required to

comply with the ADA. As such, Defendants are required to ensure that it's place



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of lodging is in compliance with the standards applicable to places of public

accommodation, as set forth in the regulations promulgated by the Department

of Justice. Said regulations are set forth in the Code of Federal Regulations,

the Americans With Disabilities Act Architectural Guidelines ("ADAAGs"), and

the 2010 ADA Standards, incorporated by reference into the ADA. These

regulations impose requirements pertaining to places of public accommodation,

including places of lodging, to ensure that they are accessible to disabled

individuals.

    8. More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

requirements:

               Reservations made by places of lodging. A public
               accommodation that owns, leases (or leases to), or operates a
               place of lodging shall, with respect to reservations made by any
               means, including by telephone, in-person, or through a third party
               -
                     (i) Modify its policies, practices, or procedures to ensure
                     that individuals with disabilities can make reservations for
                     accessible guest rooms during the same hours and in the
                     same manner as individuals who do not need accessible
                     rooms;
                     (ii) Identify and describe accessible features in the hotels
                     and guest rooms offered through its reservations service in
                     enough detail to reasonably permit individuals with
                     disabilities to assess independently whether a given hotel or
                     guest room meets his or her accessibility needs;
                     (iii) Ensure that accessible guest rooms are held for use by
                     individuals with disabilities until all other guest rooms of that
                     type have been rented and the accessible room requested
                     is the only remaining room of that type;


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                       (iv) Reserve, upon request, accessible guest rooms or
                       specific types of guest rooms and ensure that the guest
                       rooms requested are blocked and removed from all
                       reservations systems; and
                       (v) Guarantee that the specific accessible guest room
                       reserved through its reservations service is held for the
                       reserving customer, regardless of whether a specific room
                       is held in response to reservations made by others.

      9. These regulations became effective March 15, 2012.

      10. Defendant, either itself or by and through a third party, implemented, operates,

controls and or maintains an online reservations system (hereinafter "ORS") for the

Property. The purpose of this ORS is so that members of the public may reserve

guest accommodations and review information pertaining to the goods, services,

features, facilities, benefits, advantages, and accommodations of the Property. As

such, the ORS is subject to the requirements of 28 C.F.R. Section 36.302(e).

      11. Prior to the commencement of this lawsuit, Plaintiff visited the ORS for the

purpose of reviewing and assessing the accessible features at the Property and

ascertain whether it meets the requirements of 28 C.F.R. Section 36.302(e) and her

accessibility needs. However, Plaintiff was unable to do so because Defendant failed

to comply with the requirements set forth in 28 C.F.R. Section 36.302(e). As a result,

Plaintiff was deprived the same goods, services, features, facilities, benefits,

advantages, and accommodations of the Property available to the general public.

Specifically, with respect to the websites located at: https://eldoralodge.com/,

and     https://reserve4.resnexus.com/       neither   website    complied     with   the




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Regulation because they did not identify accessible rooms, did not allow for

booking of accessible rooms and provided insufficient information as to whether

the rooms or features at the hotel are accessible. Hotel amenities, room types

and amenities are all listed in detail. No information was given about

accessibility   in   the   hotel.   With   respect   to   the   website   located   at:

www.expedia.com, it did not comply with the Regulation because it did not

identify accessible rooms, did not allow for booking of accessible rooms and

provided insufficient information as to whether the rooms or features at the

hotel are accessible. Hotel amenities, room types and amenities are all listed in

detail. No information was given about accessibility in the hotel. With respect to

the website located at: www.hotels.com, it did not comply with the Regulation

because it did not identify accessible rooms, did not allow for booking of

accessible rooms and provided insufficient information as to whether the rooms

or features at the hotel are accessible. Hotel amenities, room types and

amenities are all listed in detail. No information was given about accessibility in

the hotel. With respect to the website located at: www.booking.com, it did not

comply with the Regulation because it did not identify accessible rooms, did not

allow for booking of accessible rooms and provided insufficient information as

to whether the rooms or features at the hotel are accessible. Hotel amenities,

room types and amenities are all listed in detail. No information was given


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about accessibility in the hotel other than the statement “Entire unit located on

ground floor”. With respect to the website located at: www.orbitz.com, it did not

comply with the Regulation because it did not identify accessible rooms, did not

allow for booking of accessible rooms and provided insufficient information as

to whether the rooms or features at the hotel are accessible. Hotel amenities,

room types and amenities are all listed in detail. No information was given

about accessibility in the hotel. With respect to the website located at:

www.agoda.com, it did not comply with the Regulation because it did not

identify accessible rooms, did not allow for booking of accessible rooms and

provided insufficient information as to whether the rooms or features at the

hotel are accessible. Hotel amenities, room types and amenities are all listed in

detail. No information was given about accessibility in the hotel.

    12. In the near future, Plaintiff intends to revisit Defendants’ ORS in order to test it

for compliance with 28 C.F.R. Section 36.302(e) and/or to utilize the system to

reserve a guest room and otherwise avail herself of the goods, services, features,

facilities, benefits, advantages, and accommodations of the Property.

    13. Plaintiff is continuously aware that the subject ORS remains non-compliant

and that it would be a futile gesture to revisit it as long as those violations exist unless

she is willing to suffer additional discrimination.

    14. The violations present at Defendants’ ORS infringe Plaintiff's right to travel

free of discrimination and deprive her of the information required to make meaningful


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choices for travel. Plaintiff has suffered, and continues to suffer, frustration and

humiliation as the result of the discriminatory conditions present at Defendants’ ORS.

By continuing to operate the ORS with discriminatory conditions, Defendant

contributes to Plaintiff's sense of isolation and segregation and deprives Plaintiff the

full and equal enjoyment of the goods, services, facilities, privileges and/or

accommodations available to the general public. By encountering the discriminatory

conditions at Defendants’ ORS, and knowing that it would be a futile gesture to return

to the ORS unless she is willing to endure additional discrimination, Plaintiff is

deprived of the same advantages, privileges, goods, services and benefits readily

available to the general public. By maintaining a ORS with violations, Defendant

deprives Plaintiff the equality of opportunity offered to the general public. Defendants’

online reservations system serves as a gateway to its hotel. Because this online

reservations system discriminates against Plaintiff, it is thereby more difficult to book a

room at the hotel or make an informed decision as to whether the facilities at the hotel

are accessible.

    15. Plaintiff has suffered and will continue to suffer direct and indirect injury as a

result of the Defendants’ discrimination until the Defendants are compelled to modify

its ORS to comply with the requirements of the ADA and to continually monitor and

ensure that the subject ORS remains in compliance.

    16. Plaintiff has a realistic, credible, existing and continuing threat of discrimination

from the Defendants’ non-compliance with the ADA with respect to these ORS.




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Plaintiff has reasonable grounds to believe that she will continue to be subjected to

discrimination in violation of the ADA by the Defendant.

    17. The Defendant has discriminated against the Plaintiff by denying her access

to, and full and equal enjoyment of, the goods, services, facilities, privileges,

advantages and/or accommodations of the subject website.

    18. The Plaintiff and all others similarly situated will continue to suffer such

discrimination, injury and damage without the immediate relief provided by the ADA as

requested herein.

    19. Defendant has discriminated against the Plaintiff by denying her access to full

and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of its place of public accommodation or commercial facility in

violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

Defendant continues to discriminate against the Plaintiff, and all those similarly

situated by failing to make reasonable modifications in policies, practices or

procedures, when such modifications are necessary to afford all offered goods,

services, facilities, privileges, advantages or accommodations to individuals with

disabilities; and by failing to take such efforts that may be necessary to ensure that no

individual with a disability is excluded, denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and

services.

    20. Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s


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fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205

and 28 CFR 36.505.

    21. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

subject ORS to make them readily accessible and useable to the Plaintiff and all other

persons with disabilities as defined by the ADA and 28 C.F.R. Section 36.302(e); or

by closing the ORS until such time as the Defendant cures its violations of the ADA.

        Count II - Damages, Attorneys Fees And Costs Pursuant to CADA

    22. Plaintiff realleges paragraphs 1-11 as if set forth fully hereunder.

    23. The Defendants’ hotel is a place of public accommodation within the meaning

of the CADA, Section 24-34-601.

    24. Plaintiff has a "disability" within the meaning of CADA Section 24-34-301.

    25. The CADA, at Section 24-34-601(2)(a) provides: “ It is a discriminatory

practice and unlawful for a person, directly or indirectly, to refuse, withhold from, or

deny to an individual... because of disability ... the full and equal enjoyment of the

goods, services, facilities, privileges, advantages, or accommodations of a place of

public accommodation."

    26. Defendant has violated the CADA. As a result thereof, Plaintiff has suffered

humiliation, embarrassment, frustration, segregation, exclusion, the loss of equality of

opportunity and full and equal access to Defendants’ services and has otherwise been

damaged.




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    27. Pursuant to CADA, Section 24-34-802, Plaintiff may bring a civil suit in a court

of competent jurisdiction and is entitled to: (I) A court order requiring compliance with

the provisions of the applicable section; (II) The recovery of actual monetary

damages; or (III) A statutory fine not to exceed three thousand five hundred dollars

and an award of attorneys fees and costs.

    WHEREFORE, Plaintiff respectfully requests:

    a. The Court issue a Declaratory Judgment that determines that the Defendants

       at the commencement of the subject lawsuit is in violation of Title III of the

       Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. and the CADA.

    b. The Court issue a Declaratory Judgment that determines that the Defendants

       at the commencement of the subject lawsuit is in violation of Title III of the

       Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R.

       Section 36.302(e).

    c. Injunctive relief against the Defendants including an order to revise its ORS to

       comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor

       and maintain the ORS to ensure that it remains in compliance with said

       requirement.

    d. An award of attorney’s fees, costs and litigation expenses pursuant to 42

       U.S.C. § 12205.

    e. An    award    of    damages    for   her   humiliation,   exclusion,   frustration,

       embarrassment segregation and denial of full and equal enjoyment.

    f. An award of attorneys fees and cots pursuant to the CADA.


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   g. Statutory damages pursuant to the CADA.

   h. Such other relief as the Court deems just and proper, and/or is allowable

      under Title III of the Americans with Disabilities Act.

 Dated: August 18, 2020.
                                          Respectfully submitted,
                                          s/ Suzette M. Marteny Moore
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